                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


                                                           )
RICHARD HARRIS,                                            )
                                                           )
                          Plaintiff,                       )
                                                           )
               v.                                          )
                                                           )
T-MOBILE USA, INC.; DOES 1                                 )       Case No. 2:21-cv-03006
through 10, inclusive,                                     )
                                                           )
                          Defendant(s).                    )
                                                           )
                                                           )
                                                           )
                                                           )
                                                           )



            MOTION FOR ADMISSION PRO HAC VICE OF ROSE S. MCCARTY

       Pursuant to Local Rule of Civil Procedure 83.5.2(b), Geoffrey Brounell, counsel for

Defendant T-Mobile USA, Inc., respectfully moves this Court for the admission pro hac vice of

Rose S. McCarty, Esq., on behalf of the Corporate Defendants, and in support thereof states the

following:

       1.      This matter was commenced by the filing of a complaint.

       2.      Geoffrey Brounell is a member in good standing of the bar of the Commonwealth

of Pennsylvania and the United States District Court for the Eastern District of Pennsylvania, has

entered his appearance as counsel of record for Defendant, T-Mobile USA, Inc. in this matter.

       3.      Rose S. McCarty is a member in good standing of the bar of the State of

Washington.

       4.      T-Mobile USA, Inc. has expressed desire to have Ms. McCarty represent them as

counsel of record in this matter, as she has experience representing other defendants in similar
actions in United States district courts, and her admission to practice pro hac vice in this matter

would allow for the case to progress in an efficient manner.

       5.      Counsel for Plaintiff has been contacted regarding his position, and he does not

oppose this Motion.

       6.      As directed by this Court, Ms. McCarty’s affidavit is attached hereto at Exhibit A.

       WHEREFORE, the undersigned respectfully requests that this Court enter an order, in the

form attached hereto, admitting Rose S. McCarty, pro hac vice, to appear before the Court and

participate in this action on behalf of Corporate Defendant T-Mobile USA, Inc.

Dated: New York, New York

February 8, 2022

                                              Respectfully submitted,

                                              DAVIS WRIGHT TREMAINE LLP

                                              By: s/ Geoffrey Brounell
                                                 Geoffrey Brounell

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                                              New York, NY 10020-1104
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                                              (212) 489-8340 Fax
                                              geoffreybrounell@dwt.com
                                              Attorneys for Defendant
                                              T-Mobile USA, Inc.




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                         CERTIFICATE OF COUNSEL

I certify that Plaintiff’s counsel has stated that this Motion is uncontested.




                                       s/ Geoffrey Brounell
                                       Geoffrey Brounell
                               CERTIFICATE OF SERVICE



      I certify that on February 8, 2022, I caused a copy of the foregoing document to be served

via the Court’s ECF system upon:


                                       Kent Petry, Esq.
                                   Law Offices of Kent Petry
                                        PO Box 3387
                                    Warminster, PA 18974
                                     Counsel for Plaintiff




                                                   s/ Geoffrey Brounell
                                                   Geoffrey Brounell
                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


                                                             )
RICHARD HARRIS,                                              )
                                                             )
                          Plaintiff,                         )
                                                             )
               v.                                            )
                                                             )
T-MOBILE USA, INC.; DOES 1                                   )   Case No. 21-cv-00434-KSM
through 10, inclusive.                                       )
                                                             )
                          Defendants.                        )
                                                             )
                                                             )
                                                             )
                                                             )
                                                             )




                                            ORDER


       AND NOW, this ____ day of _________, 2022, upon consideration of the Motion for

Admission Pro Hac Vice of Rose S. McCarty, it is hereby ORDERED, that the motion is

GRANTED, and Rose S. McCarty is admitted pro hac vice to appear before this Court and

participate in this action on behalf of T-Mobile USA, Inc.

                                                    BY THE COURT:



                                                    ____________________, J.
